Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 1 of 31 PageID #: 2340




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

    BRIAN HUDDLESTON,


                  Plaintiff,                            CIVIL ACTION No. 4:20CV447

                                                        JUDGE AMOS MAZZANT
                  v.

    FEDERAL BUREAU OF
    INVESTIGATION and UNITED
    STATES DEPARTMENT OF JUSTICE,


                  Defendants.


       DEFENDANTS’ COMBINED REPLY TO PLAINTIFF’S RESPONSE IN
     OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
      AND OPPOSITION TO PLAINTIFF’S CROSS MOTION FOR SUMMARY
                             JUDGMENT

        Defendants Federal Bureau of Investigation (“FBI”) and United States Department

of Justice (“DOJ”) 1 submit this combined Reply to Plaintiff’s Response in Opposition to

Defendants’ Motion for Summary Judgment and Opposition to Plaintiff’s Cross-Motion

for Summary Judgment. [ECF 46]. Summary Judgment should be granted for Defendants

because they have properly responded to Plaintiff’s request for records under the

Freedom of Information Act (“FOIA”), 5 U.S.C. §552. Plaintiff argues in his Opposition

and Cross-Motion for Summary Judgment that Defendant FBI has failed to conduct an



1
 The FBI and the Office of Information Policy (“OIP”) are both components of the DOJ. They each received and
processed FOIA requests at issue in this case.

Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                                                1
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 2 of 31 PageID #: 2341




adequate search, improperly withheld records, and acted in bad faith. As to OIP, Plaintiff

only questions a couple narrow aspects of OIP’s search. Plaintiff requests in camera

review of withheld documents and also requests discovery. As discussed below, however,

Defendants have conducted a reasonable and adequate search for records, properly

supported each of their claimed exemptions with detailed declarations, and Plaintiff has

not met his burden of showing that the information was improperly withheld from

disclosure or that Defendants have acted in bad faith.

                                    INTRODUCTION

       In typical fashion, Plaintiff weaves a tale of conspiracy and conjecture in an

attempt to establish that the FBI acted in bad faith in conducting searches and asserting

FOIA exemptions, thereby entitling Plaintiff to obtain otherwise exempt records, engage

in unwarranted discovery, and require the Court to conduct an in camera inspection of

documents that are adequately detailed in the declarations and Vaughn indices already

before the Court. Although Plaintiff makes repeated reference to the “overwhelming

evidence” of the FBI’s bad faith, his only real allegation of bad faith is that the FBI found

no records about Seth Rich in a prior FOIA case but has since found and processed

hundreds of pages of responsive records about Seth Rich. Even so, this allegation and the

remaining allegations of bad faith consist of conspiracy theories and conjecture, none of

which constitute evidence of bad faith, and this Court should reject Plaintiff’s attempts to

mischaracterize it as such.




Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                             2
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 3 of 31 PageID #: 2342




                                       PRELIMINARY MATTER

         At the outset, the FBI would like to clarify that there will be one additional release

of records to Plaintiff based on the results of recent additional searches, which will

require additional briefing. The release is scheduled for May 23, 2022. The FBI’s

Proposed Briefing Schedule [ECF 50] addresses this additional release, and the reason for

the proposed schedule was to incorporate all of the briefing together in the interest of

judicial economy, rather than engage in piecemeal briefing. In light of the Court’s April

21st Order [ECF 51] 2, however, the Defendants are filing this reply brief in response to

the issues currently pending before the Court but want to ensure that the Court is aware

that there will be additional issues to brief based on the additional searches, as additional

exemptions are implicated for the new records.

                                                 ARGUMENT

         I. DEFENDANTS CONDUCTED REASONABLE SEARCHES

         Plaintiff complains that Defendants’ searches were inadequate because FBI failed

to search email accounts and text messages; FBI & OIP failed to indicate if searches

included employees’ private communication accounts; FBI failed to search offices and

entities that were specifically identified in Plaintiff’s FOIA request; to the extent that




2
  Defendant FBI would also like to clarify its interpretation of the Court’s Order [Dkt #51]. Although the order
states, “the production and briefing schedule applicable to Defendants’ Motion for Summary Judgment (Dkt #39) be
reinstated,” Docket #39 does not include a production schedule, and the actual schedule entered by the Court only
addresses a reply brief and sur-reply brief. As a result, the FBI is moving forward with its production of the records
located in the new searches on May 23, 2022 and will propose a supplemental briefing schedule for the remaining
issues related to the new release after Plaintiff’s counsel has had a chance to review the release. Further, Defendants
would note that Plaintiff has not objected to the proposed production on May 23rd and has only argued that briefing
on the pending issues should resume. [Dkt #50].

Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                                                      3
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 4 of 31 PageID #: 2343




there are databases that the FBI excludes from its search indices, the FBI’s failure to

search them is inadequate; the FBI ignored some of Plaintiff’s requests; the FBI refused

to provide the codenames assigned to Seth Rich and Aaron Rich; the FBI and OIP failed

to indicate if codenames were searched; and the FBI failed to identify “some” search

terms.

         Defendants’ searches are adequately detailed in the agency declarations pending

before the Court. Agency affidavits are afforded a presumption of good faith, which

cannot be rebutted by purely speculative claims about the existence and discoverability of

other documents. Safecard Servs., Inc. v. SEC, 926 F.2d 1197, 1200 (D.C. Cir. 1991). As

set forth in the Fifth Declaration of Michael G. Seidel [Exhibit A] and the Second

Declaration of Vanessa R. Brinkmann [Exhibit B], as well Defendants’ previously filed

Motion for Summary Judgment and accompanying declarations [ECF 39], Plaintiff’s

arguments are without merit, as detailed below.

          A.   Emails & Texts

         Plaintiff contends that the FBI’s search was inadequate because it did not include

searches of email accounts and/or text messages. The FBI addresses Plaintiff’s arguments

regarding emails and texts in paragraphs 5-11 of the 5th Seidel Declaration. [Exh. A, ¶¶ 5-

11]. All of the factors detailed in the 5th Seidel Declaration point to the conclusion that

FBI text messages residing outside the CRS are not agency records, and there was no

reasonable basis in this case to believe that additional records existed in FBI text




Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                               4
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 5 of 31 PageID #: 2344




messages at the time of the search cutoff date.

       B.     Private Communications

       Plaintiff contends that FBI and OIP’s searches are inadequate because neither

agency indicates whether employees’ private communications or storage accounts were

searched for responsive records.

       FBI

       The FBI addresses private communications in paragraph 12 of the 5th Seidel

Declaration. The FBI’s search was formulated to locate responsive agency records

subject to the FOIA. Private email accounts, private text messages and/or private storage

drives would not typically be expected to contain agency records, and Plaintiff has not

articulated any facts suggesting that any FBI or OIP employees used private email

accounts, private text messages or private storage drives to communicate or store agency

communications or records that would be responsive to his requests. In the absence of

such facts, it is not reasonable to conclude that a search of private email accounts, private

text messages or private storage drives would be warranted. [Exh. A, ¶ 12].

       OIP

       Plaintiff praises the exhaustive nature of OIP’s searches, see ECF No. 46, at 8.

Plaintiff neither alleges nor demonstrates bad faith on the part of OIP, nor does Plaintiff

provide any evidence to call into question OIP’s good faith. Plaintiff does, however,

specifically ask whether OIP’s search took text messages into account. Id. FN 3.

Plaintiff also makes unreasonable allegations and demands pertaining to the issue of



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                               5
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 6 of 31 PageID #: 2345




private communications or storage, even though Plaintiff acknowledges that it is atypical

to make such a demand and predicates his demand on allegations of bad faith. Id. at 9-

10. Again, however, Plaintiff’s allegations of bad faith are not directed at OIP, nor does

Plaintiff provide any basis whatsoever to support the atypical demands Plaintiff is making

as to OIP. Accordingly, on their face, such demands are utterly without merit.

       OIP specifically addresses Plaintiff’s question as to text messages in paragraphs 6-

9 of the 2nd Brinkmann Declaration. The policies discussed within these paragraphs, and

the requirement to capture records that relate to official agency business in an official

DOJ recordkeeping system, would pertain to electronic messaging or data, whether on a

private or government-issued device. Specifically, paragraph 7 of the 2nd Brinkmann

Declaration indicates that DOJ policy “requires that any electronic messages that relate to

official business must be fully captured in an official DOJ recordkeeping system.” [Exh

B, ¶ 7 (emphasis added)].

       Plaintiff’s response and cross motion also alleges that Defendants failed to

“indicate[] in their respective declarations whether private communications or storage

accounts were searched for responsive records.” ECF No. 46, at 9-10. However,

Plaintiff’s unsupported allegation again misses the mark because the issue is not whether

Defendants should have addressed private communications or storage in their

declarations, but rather, given the presumption of regularity that agency employees

adhere to agency policy, whether Plaintiff has provided any evidence that that

presumption should be overcome. Jud. Watch, Inc. v. DOJ, 319 F. Supp. 3d 431, 437



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                              6
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 7 of 31 PageID #: 2346




(D.D.C. 2018) (“[a]bsent evidence to the contrary, a government employee is presumed

to have properly discharged” this recordkeeping obligation). 3 Plaintiff’s response and

cross motion does not provide a shred of evidence to substantiate his allegation.

       Finally, now and during the time period when SCO existed, Department

employees, including SCO employees, are required to adhere to the Federal Records Act,

as amended in 2014, and DOJ Policy Statement 0801.04, which established DOJ policy

with regard to email and other types of electronic messaging (including text messages).

DOJ Policy Statement 0801.04 (September 21, 2016) 4 stated that “[i]t is the policy of the

Department to manage the use, maintenance, retention, preservation, and disposition of

records created, captured, or shared using email or other electronic messaging while

conducting departmental business, in accordance with federal recordkeeping statutory

and regulatory requirements.” This DOJ policy provided that text messages may be used

by employees for conversational communications that are typically logistical or

administrative in purpose, and further requires that any electronic messages that relate to

official business must be fully captured in an official DOJ recordkeeping system. OIP’s

search encompassed formal recordkeeping systems containing SCO’s files, which would

have included any text messages of these officials which were retained consistent with

DOJ policy. [Exh. B, ¶ 7].



3
  The court also noted that “in a typical case, a search of a Department of Justice employee’s
personal email account would be unnecessarily duplicative of a search of the employee’s official
email account.” See Jud. Watch, Inc. v. DOJ, 319 F. Supp. at 438.
4
  Current Department employees remain subject to the Federal Records Act and DOJ Policy
Statement 0801.04 (December 11, 2019).

Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                                7
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 8 of 31 PageID #: 2347




       On March 22, 2019, Congress was notified that Special Counsel Mueller had

concluded his investigation and had submitted his report. With the conclusion of that

process, the SCO was closed. As part of the process for closing SCO, recordkeeping staff

collected the phones of SCO officials and took steps to ensure that records were captured

in accordance with the policies described in the preceding paragraph. [Exh. B, ¶ 8].

       In light of the facts that Department policy directs that text messages (or other

electronic messaging or data) used for official business are incorporated into official

recordkeeping systems; that there is no indication that SCO officials did not follow this

policy; and that additional steps were taken to ensure that SCO officials were aware of

this policy, OIP’s searches of SCO officials’ files would be reasonably expected to have

captured any text messages documenting official SCO business. [Exh. B, ¶ 9].

       C.     FBI’s Handling of Plaintiff’s FOIA Requests and Related Searches
              Conducted

       Plaintiff alleges that the FBI ignored portions of his requests, failed to identify

search terms from “some” of Plaintiff’s requests, and failed to search offices and entities

that were specifically identified in his request.

       The FBI clarifies and reiterates the scope of its searches in response to Plaintiff’s

arguments in paragraphs 13 – 21 of the 5th Seidel Declaration. The FBI assigned four (4)

FOIA Request Numbers to address the various portions of Plaintiff’s two (2) FOIA

requests dated April 9, 2020 and June 1, 2020. Each subpart of Plaintiff’s requests is not

assigned a separate request number; multiple subparts are grouped together as

appropriate, based on subject matter. Contrary to Plaintiff’s allegations that certain


Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                                8
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 9 of 31 PageID #: 2348




subparts of the April 9, 2020 request were simply ignored, the FBI clearly identifies

which requests correspond with each subpart, and there are no subparts that were not

included in searches. FOIPA Request 1465531-000 addresses items 1-8 of the April 9th

request, as they relate to Seth Rich. [Exh. A, ¶14]. FOIPA Request 1468034-000

addresses items 1 and 4-8 of the April 9th request, as they relate to Aaron Rich. [Exh. A,

¶15]. FOIPA Request 1468039-000 addresses item 7 of the April 9th request, as it relates

to Deborah Sines. [Exh. A, ¶16]. Finally, FOIPA Request 1468042-000 addresses item 9

of the April 9th request. Plaintiff’s allegations that the FBI simply ignored Items 2, 4, 5, 6

and 8 of the April 9th request is without merit.

       Plaintiff contends that Seidel’s failure to identify search terms used for “some” of

Plaintiff’s requests is fatal to the MSJ but fails to identify any particular example.

Although previously identified, the 5th Seidel Declaration provides a summary of the

search terms used in paragraphs 14, 17, and 21.

       D.     FBI “Other Databases”

       Plaintiff suggests that there may be other databases that the FBI excludes from

search indices, so to the extent that they exist, the FBI’s failure to search them is

inadequate. Relying on other cases of FBI misconduct, Plaintiff seeks an order requiring

the FBI to identify all databases excluded from CRS.

       The FBI addresses Plaintiff’s arguments regarding “other databases” in paragraph

22 of the 5th Seidel Declaration, noting that their search policy is grounded on the

principle of reasonableness, not mere possibility. Because Plaintiff provided no



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                               9
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 10 of 31 PageID #: 2349




information for RIDS to conclude records would reside in other databases, and because

there is no indication from the searches conducted that responsive material would reside

in any other FBI database, system, or location, there is no basis that the search was

inadequate or that a search of other databases is warranted. [Exh. A, ¶ 22].

       An agency need only search those systems in which it believes responsive records

are likely to be located. Amnesty Int’l USA v. Cent. Intelligence Agency, 728 F.Supp.2d

479, 497 (S.D.N.Y.2010); Maynard v. C.I.A., 986 F.2d 547, 563 (1st Cir.1993)(there is no

requirement that an agency search every record system.).

       E.     Codenames

       Plaintiff complains that the FBI refused to provide the codenames assigned to Seth

Rich and Aaron Rich and failed to include in its declaration whether the FBI conducted

searches using the assigned codenames.

       FBI

       The FBI addresses codenames in paragraphs 20 – 21 of the 5th Seidel Declaration.

In response to Plaintiff’s request concerning codenames, the FBI provided an Exemption

6, 7(C) and 7(E) Glomar response. The Fourth Seidel Declaration addresses this request

and the FBI’s Exemption 6, 7(C) and 7(E) Glomar in ¶¶ 25-29, 30-46, and 70-71. In

addition to addressing the substantial privacy interests of third parties, the FBI informed

Plaintiff that merely acknowledging the existence or non-existence of records responsive

to Plaintiff’s requests would trigger one or more harms under FOIA Exemption (b)(7)(E)

with respect to code names assigned to individuals. Within paragraph 70 of the Fourth



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                           10
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 11 of 31 PageID #: 2350




Seidel declaration, the FBI advised that where a Glomar response is warranted and

appropriate in response to Plaintiff’s requests, the FBI does not conduct a search for the

requested records. Conducting a search for records is unnecessary because the response

to the requester is not dependent on the result of a search and regardless of the result, the

existence or non-existence of records will neither be confirmed nor denied.

         The Fourth Seidel declaration further addresses in ¶¶ 42-46 that the Glomar had

been partially pierced by the public acknowledgment that Carter Page and Michael Flynn

were assigned codenames. As a result, the FBI conducted searches, more fully described

in ¶ 71 of the Fourth Seidel, as term searches within the Crossfire Hurricane and related

investigations using among other terms, the terms “Page” and “Flynn,” and the assigned

codenames. 5 These searches were reasonably calculated to locate the responsive records

subject to the FOIA.

         OIP

         OIP addresses codenames in paragraph 10 of the 2nd Brinkmann Declaration. For

the reasons set forth in the FBI’s Fourth Declaration of Michael G. Seidel, see ECF No.

39-1, beginning in paragraph 39, OIP cannot confirm nor deny whether the FBI or SCO

ever assigned Seth Rich a codename. Without confirming or denying whether a code

name was assigned to Seth Rich, as a general practice, to the extent OIP becomes aware

of identifying information pertaining to a request subject, OIP will incorporate that

information into its searches, as appropriate. Indeed, as described within the First


5
    For clarification, other terms searched included the code names for Page and Flynn.


Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                              11
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 12 of 31 PageID #: 2351




Brinkmann Declaration, Section IV.D, see ECF 39-2, OIP identified a lead in the form of

personally identifiable information pertaining to Seth Rich, and OIP conducted

supplemental searches using that information. [Exh. B, ¶ 10].

       II.    DEFENDANTS PROPERLY WITHHELD INFORMATION
              PURSUANT TO FOIA EXEMPTIONS

       Plaintiff’s allegations of improper withholdings and redactions delve even deeper

into conspiracy theories and speculation. Plaintiff alleges that the FBI improperly

redacted or withheld information based on privacy interests and Exemptions 1, 3, 4, 5,

and 7, and failed to properly detail the basis of withholding a compact disc and digital

video disc in their entirety.

   A. Redactions of Deborah Sines, Seth Rich, Aaron Rich from 302s

   In his Motion for In camera Review [ECF 11], incorporated into his response here,

Plaintiff contends that the FBI’s redaction of Deborah Hines, Seth Rich, and Aaron Rich

based on privacy interests is improper b/c Sines “outed” herself in a podcast, Seth Rich

does not have a privacy interest b/c he’s deceased, and Aaron Rich made himself a public

figure by giving media interviews.

       1. Aaron Rich

       The FBI addresses Aaron Rich’s privacy status in paragraphs 15 and 34-36 of the

5th Seidel Declaration. [Exh. A]. Regarding Aaron Rich, the FBI informed Plaintiff that

he requested information on a third-party individual and the FBI would neither confirm

nor deny the existence of such records pursuant to FOIA Exemptions 6 and 7(C). The

FBI does not search for responsive records on third party individuals without a signed


Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                            12
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 13 of 31 PageID #: 2352




privacy waiver, proof of death, or an overriding public interest. Accordingly, the FBI did

not conduct a search for records responsive to this request. Plaintiff provides no

competent evidence or legal authority that interviews given by Aaron Rich override his

privacy status.

       2. Deborah Sines

       The FBI addresses Deborah Sine’s privacy status in paragraphs 16 and 34-36 of

the 5th Seidel Declaration. [Exh. A]. Regarding Deborah Sines, the FBI informed Plaintiff

that he requested information on a third-party individual and the FBI would neither

confirm nor deny the existence of such records pursuant to FOIA Exemptions 6 and 7(C).

The FBI does not search for responsive records on third party individuals without a

signed privacy waiver, proof of death, or an overriding public interest. Accordingly, the

FBI did not conduct a search for records responsive to this request. Plaintiff provides no

competent evidence or legal authority that Deborah Sines’ deposition after her DOJ

employment or participation in a podcast overrides her privacy status.

       3. Seth Rich

       The FBI addresses Seth Rich’s privacy status in paragraph 37 of the 5th Seidel

Declaration. [Exh. A]. As previously explained in the 4th Seidel Declaration, the FBI

withheld information derived from Seth Rich’s personal laptop in its entirety as such

information would violate the privacy rights of the survivors of Seth Rich. Specifically,

in ¶ 139 the FBI states that “Seth Rich has no privacy interests due to being deceased,

however, the same cannot be said for those that survive him and are left to cherish his



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                           13
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 14 of 31 PageID #: 2353




memory.” In balancing the survivors’ privacy interest in non-disclosure against the

public interest in disclosure, the FBI determined that the survivors’ privacy interest

outweighs the public’s interest in disclosure, as disclosure of the information on Seth

Rich’s personal laptop would not shed light on the operations and activities of the FBI.

Further, the information on Seth Rich’s personal laptop, in and of itself, would not

demonstrate how the FBI performed its statutory mission and thus, would not

significantly increase the public’s understanding of the FBI’s operations and activities.

Accordingly, the FBI properly protected the privacy interests of the survivors of Seth

Rich pursuant to FOIA Exemptions 6 and 7(C).

   B. Compact Disc & Digital Video Disc

       Plaintiff contends that the FBI withheld a compact disc and a digital video disc in

their entirety but provided no details about “where the disc[s] came from, what sort of

data [they] contain[], how much data [they] contain, much less the general subject matter

of the data.” [ECF 33, p. 21]. Plaintiff contends this non-explanation is fatal to the MSJ.

       The FBI addresses Plaintiff’s arguments regarding the discs in paragraphs 24-27

of the 5th Seidel Declaration, noting that both discs were fully described in the Vaughn

Index attached as Exhibit N to the 4th Seidel Declaration. In both instances, the records

contained on the CD and DVD are cross-reference records concerning investigations of

third-party subjects of investigative interest to the FBI, in which Seth Rich’s name or

identifying information are referenced. No additional information may be disclosed

concerning these records without disclosing information which is exempt. [Exh. A, ¶¶ 24-



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                             14
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 15 of 31 PageID #: 2354




27].

    C. Exemption 1: National Security

       Plaintiff challenges the FBI’s assertion of Exemption 1. He questions the

applicability of national security exemptions to a robbery investigation and speculates

that if the FBI possesses records indicating CIA fabricated Guccifer 2.0 or reveal Seth

Rich deliberately leaked DNC emails to Wikileaks, that such matters are criminal, and

national security exemptions would not apply. Plaintiff also speculates that perhaps the

FBI and CIA “stiffed a call” and utilized foreign actors to fabricate a pretext for a

national security investigation. Plaintiff asks the Court not to overrule Exemption 1 at

this point, but to permit further discovery and conduct an in camera review.

       The FBI addresses Plaintiff’ arguments regarding Exemption 1 in paragraphs 28-

32 in the 5th Seidel Declaration, reiterating the procedural and substantive standards that

were followed in the classification of the national security information and flatly denying

that the information was classified for any of the purely speculative scenarios proposed

by the Plaintiff. [Exh. A, ¶¶ 28 - 32].

    D. Exemption 3: Information Exempted by Statute

       Plaintiff challenges the FBI’s assertion of FOIA Exemption 3, specifically as it

relates to national security. 6 Plaintiff does not state a specific concern with regard to

Exemption 3 except to incorporate his previous discussion of Exemption 1. As referenced


6
  The FBI used FOIA Exemption Coded Category (b)(3)-1 to identify those withholdings relating
to national security. As stated in Footnote 1, Plaintiff is not challenging the FBI’s assertion of
FOIA Exemption Coded Categories (b)(3)-2 concerning Federal Rules of Civil Procedure 6(e)
and (b)(3)-3 concerning 18 U.S.C. § 323(d).

Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                                15
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 16 of 31 PageID #: 2355




in ¶¶ 95-98 of the Fourth Seidel Declaration, the FBI asserted Exemption 3 in coded

category (b)(3)-1, at times in conjunction with Exemptions 1 and/or Exemption 7(E), to

withhold both classified and unclassified information that would reveal intelligence

sources and methods pursuant to Section 102A(i)(1) of the National Security Act of 1947

(“NSA”), as amended by the Intelligence Reform and Terrorism Prevention Act of 2004

(“IRTPA”). As a member of the Intelligence Community, the FBI is required to protect

“national intelligence and intelligence sources and methods and activities from

unauthorized disclosure”. The FBI withheld information, in coded category (b)(3)-1, that

it determined to be intelligence source and method and activity information. The FBI has

no discretion to disclose intelligence sources and methods. Thus, the FBI properly

withheld this information pursuant to FOIA Exemption (b)(3), in conjunction with

Exemptions 1 and/or 7(E).

   E. Exemption 4: Trade Secrets

       Plaintiff claims the FBI’s withholding of a 10-page report from a private

commercial institution pursuant to Exemption 4 is potentially improper because the 4th

Seidel Declaration does not provide enough detail about the report. Plaintiff also suggests

that this document might contain Seth Rich’s financial transactions because Sy Hersh

testified that Seth Rich had requested payment from Wikileaks. Plaintiff further requests

that the Court direct the FBI to produce the report for in camera inspection.

       The FBI addresses Plaintiff’s arguments regarding Exemption 4 in paragraphs 38-

39 of the 5th Seidel Declaration. The FBI’s justification for withholding information



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                          16
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 17 of 31 PageID #: 2356




pursuant to FOIA Exemption coded category (b)(4)-1 is discussed in ¶¶ 102-103 of the

Fourth Seidel Declaration. As set forth therein, the FBI located a ten (10) page report,

clearly marked as “COPYRIGHT PROPRIERTARY AND CONFIDENTIAL – NOT TO

BE SHARED WITH THIRD PARTIES.” In order to determine whether or not this

information qualified for protection pursuant to Exemption 4, on May 19, 2021, the FBI

contacted the private commercial institution to establish if the information located by the

FBI was customarily treated as private by the commercial institution; and whether or not

they provided this information to the FBI with an assurance of privacy. A response was

received from the private commercial institution, and the FBI determined this

confidential information was provided under an assurance of confidentiality and is

exempt pursuant to Exemption 4. Additional information concerning Exemption 4, will

be provided to the Court in camera, ex parte as it cannot be further discussed on the

public record without revealing exempt information.

   F. Exemption 5: Privileged Information

       Plaintiff claims that the crime fraud exception might waive Exemption 5 as to the

draft 302 forms detailed in the 4th Seidel Declaration ¶¶109-11. Plaintiff does not argue

the records are not deliberative, rather that the crime-fraud exception applies. In support,

Plaintiff offers only mere speculation fueled by his own opinions about the investigation.

       The FBI addresses Plaintiff’s arguments regarding Exemption 5 in paragraph 41 of

the 5th Seidel Declaration. As referenced in the Fourth Seidel Declaration at ¶¶ 104-118

the FBI asserted FOIA Exemption (b)(5), to withhold both privileged deliberative and



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                             17
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 18 of 31 PageID #: 2357




attorney work product materials. One category of privileged deliberative material the

FBI withheld is draft handwritten notes and draft typed FD-302s. This category of

material is discussed more fully in the Fourth Seidel Declaration at ¶¶ 109-111 which

states among other things, that the interview notes and draft typed FD-302s at issue

herein are inherently deliberative in nature as the information documented during the

interview does not always appear verbatim in the final interview record. The thoughts,

ideas, and impressions contained in the handwritten interview notes at issue here were

edited and distilled during the editorial process for the creation of the final agency

decision subsequently reflected in multiple FD-302’s; hence its predecisional nature. The

FBI processed and released to Plaintiff the responsive portions of the final FD-302s

corresponding to the handwritten notes and draft typed FD-302s herein. The FBI

properly withheld this information pursuant to Exemption 5 and confirmed that the

records at issue were created less than 25 years before the date of Plaintiff’s request.

Plaintiff has provided no evidence to indicate that the crime-fraud exception might waive

Exemption (b)(5) as to the draft FBI FD-302s responsive to Plaintiff’s FOIA request

herein.

   G. Exemption 7: Confidential Source Information

          Plaintiff contends that Exemption 7(D)-4 should be denied because of the FBI’s bad faith

in potentially conspiring with foreign agents or foreign governments for the purpose of

influencing domestic politics. Plaintiff does not articulate in his Opposition any further

challenges to the FBI’s withholdings pursuant to FOIA Exemption 7(D), specifically in



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                                 18
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 19 of 31 PageID #: 2358




relation to FOIA Exemption Coded Categories (b)(7)(D)-1 through (b)(7)(D)-3.

       The FBI addresses Plaintiff’s arguments regarding Exemption 7 in paragraphs 42

– 43 of the 5th Seidel Declaration. The FBI asserted FOIA Exemption coded category

(b)(7)(D)-4 to withhold information provided by foreign government agency authorities

under an implied assurance of confidentiality. The FBI has many agreements with

foreign governments under which national security and criminal law enforcement

information is exchanged. The FBI’s conclusion that the foreign government agency at

issue here expected confidentiality in its dealings with the FBI and with regard to the

information it provided to the FBI is based on the Foreign Government Information

Classification Guide #1 (“G-1 Guide”). As previously stated, the G-1 Guide governs

classification of foreign government information that foreign governments have asked the

FBI to protect over the course of time. The FBI uses the G-1 Guide to determine the

level and duration of derivative classification of foreign government information,

including unmarked internal FBI documents which are being reviewed for possible

classification. The FBI has conducted the necessary reviews of this material and

determined that the FBI properly protected the foreign government agency’s identity and

information. Therefore, the FBI properly asserted FOIA Exemption (b)(7)(D)-4 on the

records at issue herein. (Id. See also ¶ 155, Fourth Seidel Declaration.)




Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                           19
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 20 of 31 PageID #: 2359




         III.      NO EVIDENCE OF BAD FAITH 7

         Plaintiff makes reference throughout his response to the “overwhelming,”

“consistent,” and “long history” of evidence of the FBI’s bad faith. In fact, the only

evidence of bad faith offered by the Plaintiff is the fact that the FBI failed to locate

responsive records pertaining to Seth Rich in a 2017 FOIA search but then later located

hundreds of pages of records regarding Seth Rich in this case. The FBI already addressed

this allegation of bad faith in the Second Seidel Declaration, explaining the different

search results, see ECF 12-1, at ¶¶2-4, and addressed it again in the 5th Seidel Declaration

at paragraph 44.

         In summary, the two requests are not identical and involve different time frames.

Additionally, at the time of this litigation, the FBI had become aware of additional

relevant information that aided the search in this litigation. [ECF 39-1, ¶¶ 60-68]. If

anything, this is evidence of good faith that the FBI did not limit this search to the

previously searched locations; instead, the FBI used the relevant information and

conducted a search in this case that was reasonable based on new information.

         Courts have rejected the argument that the discovery of additional documents

constitutes bad faith. See, e.g. Grand Cent. P’ship, Inc. v. Cuomo, 166 F.3d 473, 489 (2d

Cir.1999) (plaintiff cannot establish the agency’s bad faith merely by showing documents

were subsequently discovered that were not found in the agency’s initial search for

responsive documents); Goland v. Cent. Intelligence Agency, 607 F.2d 339, 370


7
 Plaintiff never makes an allegation of bad faith on the part of OIP. Accordingly, to the extent that any demands
made by Plaintiff as to OIP are predicated on allegations of bad faith, such demands are, on their face, without merit.

Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                                                     20
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 21 of 31 PageID #: 2360




(D.C.Cir.1978) (discovery of additional documents not inconsistent with district court’s

finding that search was thorough).

       The rest of the so-called evidence of bad faith is actually either (1) allegations of

inadequate searches and improper withholdings, addressed above; (2) references to

unrelated cases; or (3) pure speculation and conspiracy.

       The majority of Plaintiff’s “evidence” of bad faith is no more than speculation and

conspiracy. Plaintiff’s repeated use of qualifiers should not be overlooked here, as he

repeatedly makes statements of pure conjecture but then characterizes those statements as

“evidence” of bad faith. For example, Plaintiff theorizes (1) whether the FBI possesses

records that show that the CIA fabricated Guccifer 2; (2) whether the FBI solicited

foreign governments to conceal Seth’s role in the DNC leaks; (3) whether the FBI

intercepted communications between Seth and Wikileaks; (4) the facts [of the preceding

two items), if proven true, would be deeply embarrassing to the agency; (5) to the extent

FBI personnel were attempting to undermine or overthrow a Presidential election; (6) if

government personnel secured search warrants for individuals like Carter Page when they

knew the “Russian collusion” premise was false; (7) it almost seems a near certainty and

it appears very likely that Exemption 1 was invoked to prevent embarrassment to the

agency; (8) if DNC emails were leaked by Seth Rich rather than hacked by the Russians;

(9) the FBI may have “stiffed a call” and utilized foreign actors to fabricate a pretext for a

national security investigation; and (10) the Plaintiff must wonder whether the FBI has

altered draft 302 forms. Even though Plaintiff introduces each of these theories as purely



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                                21
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 22 of 31 PageID #: 2361




hypothetical, he then relies on them as his “overwhelming evidence” of bad faith. Such

tactics should be rejected by the Court.

       IV. PLAINTIFF’S IMPROPER SUMMARY JUDGMENT EVIDENCE

       Throughout his response, Plaintiff cites to numerous online articles, many from

questionable sources, and claims that a FOIA plaintiff may rely on newspaper articles to

establish facts relevant to a motion for summary judgment. However, none of the cases

cited by Plaintiff actually state this, and Plaintiff has failed to cite to any legal authority

in which a Court in a FOIA case has relied on newspaper articles to establish facts for

summary judgment or as grounds for discovery.

       On the contrary, Federal Rule of Civil Procedure 56(c)(4) means that the rules of

evidence apply to summary judgment materials. See Fed.R.Civ.P. 56(c)(4), 56(c)(2) and

2010 Advisory Comm. Notes thereto. In the Fifth Circuit, evidence relied on at the

summary judgment stage need not be presented in admissible form, but it must be

capable of being presented in a form that would be admissible in evidence. D’Onofrio v.

Vacation Publications, Inc., 888 F.3d 197, 208 (5th Cir.2018). In other words, the

substance of the evidence submitted on summary judgment must be admissible. See,

generally, Celotex Corp. v. Catrett, 477 U.S. 317 (1986).

       When a party fails to offer evidence in admissible form at the summary judgment

stage, the opposing party may object by stating the evidence “cannot be presented in a

form that would be admissible in evidence.” Fed.R.Civ.P. 56(c)(2). The commentary to

the 2010 Amendment of Rule 56 explains the procedure:



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                                   22
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 23 of 31 PageID #: 2362




       Subdivision (c)(2) provides that a party may object that material cited to
       support or dispute a fact cannot be presented in a form that would be
       admissible in evidence. The objection functions much as an objection at
       trial, adjusted for the pretrial setting. The burden is on the proponent to
       show that the material is admissible as presented or to explain the
       admissible form that is anticipated.

Fed.R.Civ.P. 56, advisory committee note 2010 amend. (emphasis added).

       The online articles and websites referenced by Plaintiff are not proper summary

judgment evidence, and Defendants object to them on the grounds that they cannot be

presented in a form that could be admissible in evidence pursuant to Rule 56(c)(2)

because they are (1) inadmissible hearsay; (2) not capable of being properly authenticated

by a person with personal knowledge; (3) contain conclusions and speculations that are

not proper summary judgment evidence; and (4) are otherwise irrelevant, unreliable and

untrustworthy.

       Specifically, Defendants object to the following online articles via website links in

Plaintiff’s response and cross-motion for summary judgment [ECF 46]:

       (1) https://www.rollingstone.com/politics-news/will-julian-assange-and-wikileaks-

          finally-tell-the-truth-about-seth-rich-918946/ (p. 4)

       (2) https://www.youtube.com/watch?tv=Kp7FkLBRpKg&t=3s (p.4)

       (3) https://www.nbcnews.com/politics/white-house/dnc-staffer-s-murder-fresh-

          conspiracy-theories-n760186 (p. 4)

       (4) https://www.vox.com/2018/7/13/17568840/russia-trump-seth-rich-conspiracy-

          mueller-indictments (p.4)




Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                           23
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 24 of 31 PageID #: 2363




       (5) https://www.judicialwatch.org/wp-content/uploads/2020/01/JW-v-DOJ-Strzok-

          Page-Prod-16-00154.pdf (p. 5)

       (6) https://consortiumnews.com/2017/07/24/intel-vets-challenge-russia-hack-

          evidence/ (p. 5)

       (7) https://www.realclearinvestigations.com/articles/2020/05/13/hidden_over_2_y

          ears_dem_cyberfirms_sworn_testimony_it_had_no_proof_of_russian_hack_of

          _dnc_123596.html (p. 6)

       (8) https://lawflog/com/?p=2433 (p. 12)

       (9) https://www.forbes.com/sites/thomasbrewster/2018/02/21/fbi-hidden-hacking-

          groups-revealed/?sh=4e1a8c51330f (p. 12)

       (10)   https://foreignpolicy.com/2013/11/21/meet-the-spies-doing-the-nsas-dirty-

          work (p. 12)

       (11)   https://www.yahoo.com/now/it-is-indescribable-how-a-harassment-

          campaign-overwhelmed-seth-richs-friends-and-family-100000936.html (p. 13)

       (12)   https://lawflog.com/wp-content/uploads/2020/04/2020.03.20-Deborah-

          Sines-deposition-transcript.pdf (p. 13)

       (13)   https://www.realclearinvestigations.com/articles/2022/01/20/the_tension_o

          ver_the_truth_and_consequences_gripping_the_fbis_trump-

          russia_reckoning_812321/html (p. 25)

       (14)   https://dailycaller.com/2018/29/oddities-in-comey-informants-russian-

          collusion-evidence/ (p. 25)



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                       24
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 25 of 31 PageID #: 2364




       (15)   https://www.beyondweird.com/conspiracy/cn12-05.html (p. 25)

       (16)   https://www.wsj.com/articles/rewrite-in-flynns-case-shows-fbi-needs-

          reform-11588541993 (p. 28)

       (17)   www.theepochtimes.com/spygate-the-true-story-of-

          collusion_2684629.html (p. 29)

       A. Hearsay

       Although Plaintiff characterizes his summary judgment evidence as “newspaper

articles,” the so-called evidence is actually just links to websites for online articles, many

are not online newspapers or even claim to be news sources at all. Regardless, using

Plaintiff’s own characterization of the online sites as newspaper articles, they are clearly

hearsay and not competent summary judgment evidence. Newspaper articles are

generally “classic, inadmissible hearsay.” Roberts v. City of Shreveport, 397 F.3d 287,

295(5th Cir. 2005). The websites cited by Plaintiff do not meet any of the hearsay

exceptions of Fed.R.Evid. 803.

       B. Not Capable of Proper Authentication

       In order to authenticate a document pursuant to Rule 901 of the Federal Rules of

Evidence, the proponent must produce evidence sufficient to support a finding that the

item is what the proponent claims it is. United States v. Barnes, 803 F.3d 209, 217 (5th

Cir.2015). The websites cited by Plaintiff cannot be properly authenticated, nor are they

self-authenticating under Rule 902.




Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                             25
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 26 of 31 PageID #: 2365




        C. Conclusions and Speculations

        Further, to the extent that statements within Plaintiff’s response are based on the

referenced online materials, those statements are not proper summary judgment evidence.

The list of hypothetical statements detailed in Section III above are based largely on the

online articles cited in the response. Conclusions, speculations, and similar statements are

insufficient to defeat a summary judgment motion. In re Magnolia Fleet, LLC, 722

Fed.Appx. 353, 354-55 (5th Cir. 2018). Conclusory allegations are not competent

summary judgment evidence, and such allegations are insufficient, therefore, to defeat a

motion for summary judgment. Topalian v. Ehrman, 954 F.2d 1125, 1131 (5th Cir. 1992);

Oliver v. Scott, 276 F.3d 736, 744 (5th Cir.2002) (“Conclusional allegations and denials,

speculation, improbable inferences, unsubstantiated assertions, and legalistic

argumentation do not adequately substitute for specific facts showing a genuine issue for

trial.”).

        D. Irrelevant, Unreliable, and Untrustworthy

        Overall, the online articles referenced by Plaintiff are not proper summary

judgment evidence because they are simply irrelevant to the issues of this case. The

issues before the Court are whether the Defendants conducted reasonable searches and

made proper withholdings based on appropriate exemptions. The reasons that Plaintiff

submitted the FOIA requests and the vast amount of conspiracies circulating online about

the subject matter of the FOIA requests have no bearing on the adequacy of Defendants’

searches or the appropriateness of the asserted exemptions. Finally, many of the websites



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                               26
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 27 of 31 PageID #: 2366




listed do not even claim to be news sources at all, calling into question their reliability

and trustworthiness.

V. PLAINTIFF IS NOT ENTITLED TO DISCOVERY

       Plaintiff’s Cross-Motion for Summary Judgment seeks discovery on a number of

issues. Specifically, Plaintiff seeks a Court order requiring Defendants to:

       1. Provide a copy of the Plaintiff’s FOIA requests to every SCO and FBI
          employee named in the records produced thus far. The Plaintiff further
          moves the Court to order every such employee to produce a sworn
          declaration attesting that he or she either (a) has or has not privately
          sent, received, or stored communications or records responsive to the
          Plaintiff’s requests; (b) has or has not made such communications or
          records available for production to the Plaintiff; and (c) is or is not
          aware of other individuals who used private means to send, receive, or
          store responsive communications or records. If the answer to Question
          #3 is in the affirmative, then the names of such individuals should be
          identified in the declaration.”

       2. Name all databases and records systems that are (a) under the
          ownership, operation, or control of the FBI, but (b) not automatically
          included in the FBI’s search indices;

       3. Present Mr. Seidel for testimony at an evidentiary hearing.


[ECF 46, pp. 31-32].

       “While ordinary discovery processes grant each party access to evidence, in FOIA

cases discovery is limited because the underlying case revolves around the propriety of

revealing certain documents.” Lane v. Dept. of Interior, 523 F.3d 1128, 1134 (9th Cir.

2008). For this reason, discovery is the rare exception, not the rule, in FOIA cases. See

e.g. Singh v. United States, No. 17-0233-JCC, 2017 U.S. Dist. LEXIS 72368 at *2 (W.D.

WA May 11, 2017)(“[B]ecause FOIA cases pertain to the propriety of revealing


Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                               27
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 28 of 31 PageID #: 2367




requested documents, discovery in those cases is rare and limited.”); Wheeler v. CIA, 271

F.Supp.2d 132, 139 (D.D.C. 2003)(“Discovery is generally unavailable in FOIA

actions.”); Judicial Watch, Inc. v. Export-Import Bank, 108 F.Supp.2d 19, 25

(D.D.C.2000)(“[D]iscovery in a FOIA action is generally inappropriate.”). This is

because the Vaughn filing submitted by the agency to support the withholding of records

is the factual predicate upon which the Court makes its ruling as to whether a given

document is within a statutory exemption, or not, and “if the affidavits contain reasonably

detailed descriptions of the documents and allege facts sufficient to establish an

exemption, the district court need look no further.” Lewis v. IRS, 823 F.2d 375, 378 (9th

Cir.1987).

       Courts generally do not permit discovery in FOIA cases when an agency’s

declaration is reasonably detailed and submitted in good faith. Schreckler v. DOJ, 217

F.Supp.2d 29, 35 (D.D.C. 2002). In the rare case when the courts do permit discovery, it

is limited to determine the thoroughness of an agency search for potentially responsive

documents, and, even then, discovery is typically only allowed when there is some reason

to believe that the agency search has been less than thorough. See, e.g., Heily v. United

States Dep’t of Commerce, 69 Fed. App. 171, 174 (4th Cir. 2003) (explaining that when

discovery is permitted, generally it is “limited to the scope of the agency’s search and its

indexing and classification procedures.”). To qualify for an exception to the limited scope

of discovery, the plaintiff in a FOIA case “must make a showing of bad faith on the part

of the agency sufficient to impugn the agency’s affidavits or declarations [] or provide



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                             28
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 29 of 31 PageID #: 2368




some tangible evidence that an exemption claimed by an agency should not apply or

summary judgment is somehow inapposite.” Carney v. U.S. Dep’t of Justice, 19 F.3d

807, 812 (2d Cir. 1994). Unsubstantiated claims that an agency has acted in bad faith are

insufficient to warrant discovery. See e.g. Wolf v. C.I.A., 569 F.Supp.2d 1, 10 (D.D.C.

2008) (concluding that a mere assertion of bad faith does not establish a sufficient basis

for discovery). Moreover, affidavits submitted by an agency are “accorded a presumption

of good faith, which cannot be rebutted by purely speculative claims about the existence

and discoverability of other documents.” Safecard Services, Inc. v. SEC, 926 F.2d 1197,

1200 (D.C.Cir. 1990).

       Here, Plaintiff has failed to establish that Defendant FBI has acted in bad faith (as

set forth in Section III above) and has failed to even allege that OIP has acted in bad

faith. Plaintiff has clearly not met the standard to overcome the presumption of good faith

accorded the declarations and Vaughn indices filed by the Defendants, and Plaintiff’s

requests for discovery should be denied.

       VI. IN CAMERA INSPECTION IS NOT WARRANTED

       In camera review in the FOIA context is discretionary and should only be

considered as a last resort. See 5 U.S.C. §552(a)(4)(B); NLRB v. Robbins Tire & Rubber

Co., 437 U.S. 214, 224 (1978) (“The in camera review provision is discretionary by its

terms, and is designed to be invoked when the issue before the District Court could not be

otherwise resolved.”) When a district court finds that a law enforcement agency’s

declarations sufficiently describe the document and have set forth proper reasons for



Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                              29
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 30 of 31 PageID #: 2369




invoking FOIA exemptions, in camera inspection of that document is not necessary. See

Lam Lek Chong v. U.S. Drug Enforcement Admin., 929 F.2d 729, 735 (D.C.Cir. 1991).

The Court may seek in camera inspection where the agency affidavits are insufficiently

clear to permit meaningful review of the exemption claims or where there is evidence of

bad faith. Id.

           Here, the agency declarations and Vaughn indices are sufficiently detailed and

clear, and as set forth in Section III, Plaintiff has failed to establish that Defendants have

acted in bad faith. 8 As a result, in camera inspection is not warranted, and the Plaintiff’s

request should be denied. However, should the Court determine that an in camera review

of the records is warranted, the FBI will not oppose such an Order.

                                                   CONCLUSION

           The FBI and OIP performed adequate and reasonable searches for responsive

records, processed all such records, and released all reasonably segregable non-exempt

information from documents responsive to Plaintiff’s FOIA requests that are subject to

the FOIA.

           Plaintiff has failed to establish that the searches were inadequate, the exemptions

were inappropriate, or that Defendants have acted in bad faith. Plaintiff’s cross-motion

for summary judgment and requests for discovery and in camera review should be

denied.




8
    Indeed, Plaintiff has not even alleged bad faith on the part of OIP.

Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                              30
Case 4:20-cv-00447-ALM Document 54 Filed 05/02/22 Page 31 of 31 PageID #: 2370




       Because Defendants conducted reasonable searches in response to Plaintiff’s

FOIA requests, properly issued Glomar responses as appropriate, and properly withheld

information pursuant to appropriate FOIA exemptions, Defendants are entitled to

summary judgment.

                                            Respectfully submitted,


                                            BRIT FEATHERSTON
                                            UNITED STATES ATTORNEY

                                            /s Andrea L. Parker
                                            ANDREA L. PARKER
                                            Assistant United States Attorney
                                            Texas Bar No. 00790851
                                            550 Fannin, Suite 1250
                                            Beaumont, Texas 77701
                                            Tel: (409) 839-2538
                                            Fax: (409) 839-2550
                                            Email: andrea.parker@usdoj.gov




                             CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2022, a true and correct copy of the foregoing

document was filed electronically with the court and has been sent to counsel of record

via the court’s electronic filing system.

                                            /s/ Andrea L. Parker
                                            ANDREA L. PARKER
                                            Assistant United States Attorney




Defendants’ Combined Reply to Plaintiff’s Response and
Opposition to Cross Motion for Summary Judgment                                           31
